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                             IN THE UNITED STATES DISTRICT COURT
11
12                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                      OAKLAND DIVISION
14
15
      CENTER FOR ENVIRONMENTAL                   )
16    HEALTH, et al.,                            )
                                                 )
17                  Plaintiffs,                  )
18                                               )
                            v.                   )
                                                     CASE NO. 4:18-cv-03197-SBA
19                                               )
      MICHAEL S. REGAN, in his official          )
20                                                   JOINT UNOPPOSED MOTION TO
      capacity as Administrator of the U.S.      )
                                                     EXTEND TIME TO FILE A MOTION FOR
      Environmental Protection Agency, et al.,   )
21                                                   AWARD OF ATTORNEYS’ FEES AND
                                                 )
                                                     LITIGATION EXPENSES;
22                  Defendants,                  )
                                                     [PROPOSED] ORDER
                                                 )
23    and                                        )
24                                               )
      CROPLIFE AMERICA,                          )
25                                               )
                    Intervenor-Defendant.        )
26                                               )
27                                               )

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1           Pursuant to Federal Rule of Civil Procedure 6(b) and Civil Local Rule 6-3 Plaintiffs
2    (Center for Environmental Health, Center for Biological Diversity, and Californians for Pesticide
3    Reform) and Federal Defendants (Michael S. Regan, Administrator of the U.S. Environmental
4    Protection Agency (“EPA”), the EPA, the U.S. Fish and Wildlife Service (“FWS”), and Debra
5    Haaland, Secretary of the U.S. Department of the Interior) hereby file this joint motion to extend
6    the time for Plaintiffs to file a motion for attorneys’ fees and litigation expenses by an additional
7    sixty (60) days to allow Plaintiffs and Federal Defendants further time to attempt to resolve the
8    matter of attorneys’ fees and costs without Court involvement. The Parties have conferred and
9    Defendant-Intervenor CropLife America does not oppose the relief sought in this joint motion.
10          Under the applicable rules and attorney-fee award provisions of the Endangered Species
11   Act, 16 U.S.C. § 1540(g)(4), Plaintiffs must file a motion for attorneys’ fees and bill of costs
12   within fourteen (14) days of the entry of judgment. Fed. R. Civ. P. 54(d); Civil L.R 54-1(a); Civil
13   L.R. 54-5(a). The Equal Access to Justice Act further provides that “[a] party seeking an award
14   of fees and other expenses shall, within thirty (30) days of final judgment in the action, submit to
15   the court an application for fees and other expenses.” 28 U.S.C. § 2412(d)(1)(B). The Supreme
16   Court has held that the EAJA filing deadline is not jurisdictional. Scarborough v. Principi, 541
17   U.S. 401, 413-14 (2004); see also New Life Evangelistic Ctr., Inc. v. Sebelius, 847 F. Supp. 2d
18   50, 53 (D.D.C. 2012). That time began to run when the Court entered the Parties’ proposed
19   order on the Second Stipulated Partial Settlement Agreement (“Second Settlement”) on April 13,
20   2022. Dkt. 125, ¶ 16.
21          The Parties negotiated a first stipulated partial settlement agreement regarding claims
22   against EPA, Administrator Regan, FWS, and Secretary Haaland, without any admission of the
23   allegations or claims, for the alleged violation of their procedural duties concerning completion
24   of the Final Biological Opinion pursuant to ESA Section 7(a)(2) in Counts 1 and 2 set forth in
25   the complaint. Dkt. 111. The Court entered an order effectuating the first stipulated partial
26   settlement on January 4, 2022, and retained jurisdiction to enforce the terms of the settlement
27   agreement. Dkt. 112.
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1           The Parties negotiated a Second Settlement with regard to the remaining claims against
2    the EPA and Administrator Regan for the alleged failure to comply with their substantive duties
3    under ESA Section 7(a)(2) by taking final agency actions of registering or reregistering certain
4    products containing malathion in paragraph 84 of the complaint as set forth in Count 1; the
5    alleged unlawful withholding and/or unreasonable delay pursuant to Section 706(1) of the
6    Administrative Procedure Act, 5 U.S.C. § 706(1), of completion of their substantive duties under
7    ESA Section 7(a)(2) as set forth in Count 2; and the alleged violations of ESA Section 7(d), 16
8    U.S.C. § 1536(d), as set forth in Count 3. Dkt. 123. The Court entered an order effectuating the
9    Second Settlement on April 13, 2022, and retained jurisdiction to enforce the terms of the
10   settlement agreement. Dkt. 125.
11          On April 13, 2022, the Court also entered an order effectuating Plaintiffs’ and Federal
12   Defendants’ Joint Unopposed Motion to Extend Time to File a Motion for Attorneys’ Fees and
13   Litigation Expenses by ninety (90) days to July 12, 2022. Dkt. 126.
14          The only outstanding issues remaining in this case are related to Plaintiffs’ claim for
15   attorneys’ fees and costs. Plaintiffs and Federal Defendants have been actively involved in
16   settlement discussions and have exchanged settlement proposals.
17          To provide additional time for Plaintiffs and Federal Defendants to resolve the matter of
18   attorneys’ fees and litigation costs absent any further involvement from this Court, Plaintiffs and
19   Federal Defendants respectfully request that the Court extend the time for Plaintiffs to file any
20   such motion for an additional sixty (60) days, through and including September 12, 2022.
21   Providing the Parties additional time to attempt to resolve the issue of attorneys’ fees and costs
22   would reduce or avoid waste of resources to the Parties and the Court that would be incurred by
23   unnecessary motion practice and additional costs, and may allow for more efficient resolution of
24   the remaining issues in the case.
25          By agreeing to this request for additional time, Federal Defendants are not conceding that
26   Plaintiffs are entitled to fees. Federal Defendants reserve all rights and defenses to entitlement
27   and reasonableness of any fee request. As set forth in the attached proposed order, the Parties
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1    request that this Court extend the deadline for Plaintiffs’ motion for attorneys’ fees and litigation
2    costs by sixty (60) days from the current deadline, through and including September 12, 2022.
3
4           Respectfully submitted this 1st day of July, 2022.
5
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1                                                 ORDER
2             On April 13, 2022, the Court entered an order effectuating the parties’ Second Stipulated
3    Partial Settlement Agreement in the above captioned case resolving the remaining claims in
4    Counts 1, 2, and 3 of the Second Amended Complaint.
5             Good cause having been shown, it is hereby ORDERED that Plaintiffs’ deadline to file a
6    motion for attorneys’ fees and costs and a bill of costs shall be extended by sixty (60) days,
7    through and including September 12, 2022.
8
9             IT IS SO ORDERED.
10
11   Dated:       July, 8, 2022                       ___________________________________  RS
                                                      Richard Seeborg for Saundra Brown Armstrong
12                                                    United States District Judge
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